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29314

AQ 442 (Rev, 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT
for the
District of Columbia

United States of America ) Case: 1:23-cr-00116
) Assigned to: Judge Bates, John D.
NDUBUISI JOSEPH OKAFOR, Assign Date: 4 16 12 0 23
Defendant ) Description: INDICTMENT (B)
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested} NOUBUISI JOSEPH OKAFOR
who is accused of an offense or violation based on the following document filed with the court:

 

@ Indictment O Superseding Indictment © Information OO Superseding Information O Complaint
CO Probation Violation Petition [J Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Distribution of Controlled Substances Outside of the Legitimate Practice of
Medicine)

 

 

 

; Digitally signed by
Robi n M. Robin M. Meriweather 5
; Date: 2023.04.06
Meriweather (e500 ooo"
Date: 04/06/2023 ? Te ws
issuing officer's signature
City and state: | Washington, DC Robin M. Meriweather, U.S. Magistrate Judge
Printed name and ttle
Returo
This warrant was received on (date) Ly) Op} Jb2 3 , and the person was arrested on (dare) Y/I 2 202 2,
at (city and state) df Shixgdon f N .

   

Date: h /| ay D0) 3

esting officer's signature

Hoc Aftbirs Dusn

~ Printed name and title

 

 
